           Case 19-20347-rlj11 Doc 12 Filed 11/07/19                                                       Entered 11/07/19 10:54:04                                     Page 1 of 2


B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                  AMARILLO DIVISION
In re Krisu Hospitality LLC                                                                                                         Case No.           19-20347-11

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                        $0.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                       $0.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d. [Other provisions as needed]
     *$350.00 per hour for attorney fees and $150.00 for legal assistants plus out of pocket expenses.
     **The total sum of $4,717.00 has been paid to debtor's counsel for work completed pre-petition and
     reimbursement of filing fee.
     ***An initial retainer of $20,000.00 was placed in Swindell Law Firm IOLTA account.
       Case 19-20347-rlj11 Doc 12 Filed 11/07/19                     Entered 11/07/19 10:54:04               Page 2 of 2


B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   11/06/2019                         /s/ Patrick A. Swindell
                      Date                            Patrick A. Swindell                        Bar No. 19587450
                                                      Swindell Law Firm
                                                      106 SW 7th Ave.
                                                      Amarillo, TX 79101
                                                      Phone: (806) 374-7979 / Fax: (806) 374-1991




    /s/ Krisu Hospitality LLC
   Krisu Hospitality LLC
